                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 1 of 10




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                                        13    Attorneys for Defendant
                                              OLD ORCHARD INDUSTRIAL CORP
                                        14
        Las Vegas, NV 89101




                                                                        UNITED STATES DISTRICT COURT
                                        15

                                        16                                     DISTRICT OF NEVADA

                                        17    JORDAN J. POTTER,                                   )   Case No.: 2:20-cv-00276-RFB-VCF
                                                                                                  )
                                        18                                Plaintiff,              )
                                                                                                  )   PLAINTIFF’S STIPULATION OF
                                        19                                                            DISMISSAL WITH PREJUDICE OF
                                                     vs.                                          )
                                        20                                                        )   DEFENDANT OLD ORCHARD
                                              ARROWHEAD PRODUCTS, individually and as                 INDUSTRIAL CORP
                                                                                                  )
                                        21    successor in interest to Arrowhead Rubber
                                                                                                  )
                                              Company; CRANE CO.; DCO, LLC; EATON
                                        22    AEROQUIP, LLC; OLD ORCHARD                          )
                                              CORPORATION; GENERAL ELECTRIC                       )
                                        23                                                        )
                                              COMPANY; GOODRICH CORPORATION f/k/a
                                        24    The BF Goodrich Company; HARSEMCO LLC               )
                                              f/k/a Harco LLC; HENKEL CORPORATION as              )
                                        25    successor in interest to Loctite Corporation and    )
                                              Dexter Hysol; HEXCEL CORPORATION f/k/a              )
                                        26    Heath Tecna f/k/a Ciba-Geigy; HONEYWELL             )
                                        27    INTERNATIONAL, INC., Individually and as            )
                                              successor to Allied Signal, Inc. and The Bendix     )
                                        28
                                              )                                          Page 1
                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 2 of 10




                                              Corporation; IMO INDUSTRIES, INC.; IMO             )
                                         1    INDUSTRIES, INC., Individually and as              )
                                         2    Successor in interest to Adel Fasteners;           )
                                              INDUSTRIAL MANUFACTURING COMPANY, )
                                         3    as successor in interest to Arrowhead Products and )
                                              Arrowhead Rubber Company; NORTHROP                 )
                                         4    GRUMMAN CORPORATION; OLD ORCHARD )
                                              INDUSTRIAL CORP.; PARKER-HANNIFIN
                                         5                                                       )
                                              CORPORATION, individually and as successor in
                                         6    interest to Cleveland Wheel & Brake and Statoflex )
                                              Products; ROGERS CORPORATION; TELEFLEX )
                                         7    INCORPORATED; TIGHITCO INC., as successor )
                                              in interest to H.I. Thompson Company and HITCO; )
                                         8    TITEFLEX COMMERCIAL INC; RAYTHEON                  )
                                              TECHNOLOGIES f/k/a United Technologies             )
                                         9
                                              Corporation; WYETH HOLDINGS LLC f/k/a              )
                                        10    WYETH HOLDINGS LLC f/k/a Wyeth Holdings )
                                              Corp. f/k/a American Cyanamic Corporation; DOES )
                                        11    1 through 10, inclusive; and ROE CORPORATIONS )
                                              1 through 50 inclusive,                            )
                                        12
Gordon & Rees Scully Mansukhani, LLP




                                                                                                 )
                                                                             Defendants.
  300 South Fourth Street, Suite 1550




                                        13                                                       )

                                        14                                                         )
        Las Vegas, NV 89101




                                              AND ALL RELATED CROSS-ACTIONS.                       )
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                                                           PLAINTIFF’S STIPULATION OF DISMISSAL WITH PREJUDICE
                                         1                     OF DEFENDANT OLD ORCHARD INDUSTRIAL CORP
                                         2
                                                        IT IS HEREBY STIPULATED AND AGREED by Plaintiff, by and through his Counsel,
                                         3
                                              that any and all claims asserted against Defendant Old Orchard Industrial Corp (including all
                                         4
                                              claims against Old Orchard Industrial Corp as successor in interest to Vapor Corporation, and all
                                         5
                                              claims against Vapor Corporation) in the above-entitled action are hereby Dismissed With
                                         6
                                              Prejudice pursuant to Federal Rule of Civil Procedure 41, with each party to bear its own
                                         7
                                              expenses, including attorney’s fees and costs incurred in this action.
                                         8
                                              DATED this 30th day of November, 2021                   DATED this 30th day of November 2021
                                         9

                                        10        MAUNE RAICHLE HARTLEY                               GORDON REES SCULLY
                                                  FRENCH & MUDD LLC                                   MANSUKHANI, LLP
                                        11

                                        12        /s/ Jackalyn A. Olinger Rochelle________            /s/ James E. Cavanaugh________
Gordon & Rees Scully Mansukhani, LLP




                                                  JACKALYN A. OLINGER ROCHELLE,                       ROBERT E. SCHUMACHER, ESQ.
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                                        20                                                            Attorneys For Defendant,
                                                                                                      OLD ORCHARD INDUSTRIAL CORP
                                        21        And

                                        22        CRAIG P. KENNY & ASSOCIATES

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                                        27        Attorneys for Plaintiff
                                        28
                                              )                                              Page 3
                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 4 of 10




                                         1                                     CERTIFICATE OF SERVICE

                                         2            I HEREBY CERTIFY that on the 30th day of November 2021, I served a true and correct

                                         3    copy of PLAINTIFF’S STIPULATION OF DISMISSAL WITH PREJUDICE OF

                                         4    DEFENDANT OLD ORCHARD INDUSTRIAL CORP

                                         5     via electronic mail to the following:

                                         6    T. Barton French, Jr., Esq.                   Jay J. Schuttert, Esq.
                                         7    Jackie O. Rochelle, Esq.                      Alexandria L. Layton, Esq.
                                              Lorrette Fisher, Esq.                         EVANS FEARS & SCHUTTERT LLP
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                                        11            lfisher@mrhfmlaw.com                  NORTHROP GRUMMAN SYSTEMS
                                                                                            CORPORATION RAYTHEON
                                        12    And                                           TECHNOLOGIES CORPORATION F/K/A
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                                                                                            UNITED TECHNOLOGIES
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                                              CRAIG P. KENNY & ASSOCIATES                   CORPORATION
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                                              and
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                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 5 of 10




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                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 6 of 10




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                                         7

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                                        14    Attorney for DEXTER HYSOL
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                                              AEROSPACE, LLC AND HENKEL US
                                        15    OPERATIONS CORPORATION,
                                              incorrectly named as HENKEL
                                        16    CORPORATION as successor-in-interest to
                                        17    LOCTITE CORPORATIONS AND
                                              DEXTER HYSOL
                                        18
                                              David J. Mortensen, Esq.                      Michael E. Stoberski, Esq.
                                        19    Jessica Gandy, Esq.                           Paterno C. Jurani, Esq.
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                                                                                            HARCOSEMCO LLC
                                        24

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                                              )                                           Page 6
                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 7 of 10




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                                                                                           An Employee of GORDON REES SCULLY
                                                                                           MANSUKHANI, LLP
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        Las Vegas, NV 89101




                                                                        UNITED STATES DISTRICT COURT
                                        15

                                        16                                     DISTRICT OF NEVADA

                                        17    JORDAN J. POTTER,                                   )   Case No.: 2:20-cv-00276-RFB-VCF
                                                                                                  )
                                        18                                Plaintiff,              )
                                                                                                  )   [PROPOSED] ORDER GRANTING
                                        19                                                            DISMISSAL WITH PREJUDICE OF
                                                     vs.                                          )
                                        20                                                        )   DEFENDANT OLD ORCHARD
                                              ARROWHEAD PRODUCTS, individually and as                 INDUSTRIAL CORP
                                                                                                  )
                                        21    successor in interest to Arrowhead Rubber
                                                                                                  )
                                              Company; CRANE CO.; DCO, LLC; EATON
                                        22    AEROQUIP, LLC; OLD ORCHARD                          )
                                              CORPORATION; GENERAL ELECTRIC                       )
                                        23                                                        )
                                              COMPANY; GOODRICH CORPORATION f/k/a
                                        24    The BF Goodrich Company; HARSEMCO LLC               )
                                              f/k/a Harco LLC; HENKEL CORPORATION as              )
                                        25    successor in interest to Loctite Corporation and    )
                                              Dexter Hysol; HEXCEL CORPORATION f/k/a              )
                                        26    Heath Tecna f/k/a Ciba-Geigy; HONEYWELL             )
                                        27    INTERNATIONAL, INC., Individually and as            )
                                              successor to Allied Signal, Inc. and The Bendix     )
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                                              )                                          Page 1
                                             Case 2:20-cv-00276-RFB-VCF Document 401 Filed 12/01/21 Page 9 of 10




                                              Corporation; IMO INDUSTRIES, INC.; IMO             )
                                         1    INDUSTRIES, INC., Individually and as              )
                                         2    Successor in interest to Adel Fasteners;           )
                                              INDUSTRIAL MANUFACTURING COMPANY, )
                                         3    as successor in interest to Arrowhead Products and )
                                              Arrowhead Rubber Company; NORTHROP                 )
                                         4    GRUMMAN CORPORATION; OLD ORCHARD )
                                              INDUSTRIAL CORP.; PARKER-HANNIFIN
                                         5                                                       )
                                              CORPORATION, individually and as successor in
                                         6    interest to Cleveland Wheel & Brake and Statoflex )
                                              Products; ROGERS CORPORATION; TELEFLEX )
                                         7    INCORPORATED; TIGHITCO INC., as successor )
                                              in interest to H.I. Thompson Company and HITCO; )
                                         8    TITEFLEX COMMERCIAL INC; RAYTHEON                  )
                                              TECHNOLOGIES f/k/a United Technologies             )
                                         9
                                              Corporation; WYETH HOLDINGS LLC f/k/a              )
                                        10    WYETH HOLDINGS LLC f/k/a Wyeth Holdings )
                                              Corp. f/k/a American Cyanamic Corporation; DOES )
                                        11    1 through 10, inclusive; and ROE CORPORATIONS )
                                              1 through 50 inclusive,                            )
                                        12
Gordon & Rees Scully Mansukhani, LLP




                                                                                                 )
                                                                             Defendants.
  300 South Fourth Street, Suite 1550




                                        13                                                       )

                                        14                                                         )
        Las Vegas, NV 89101




                                              AND ALL RELATED CROSS-ACTIONS.                       )
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                                                         [PROPOSED] ORDER GRANTING DISMISSAL WITH PREJUDICE
                                         1                   OF DEFENDANT OLD ORCHARD INDUSTRIAL CORP
                                         2
                                                      PURSUANT TO STIPULATION, IT IS SO ORERED that the above-entitled action by
                                         3
                                               Plaintiff JORDAN J. POTTER is Dismissed With Prejudice as to Defendant OLD ORCHARD
                                         4
                                               INDUSTRIAL CORP, pursuant to Federal Rule of Civil Procedure 41, with each party to bear its
                                         5
                                               own litigation expenses, including attorney’s fees and costs incurred in this action.
                                         6

                                         7                                                       ORDER
                                         8
                                                                                                 IT IS SO ORDERED
                                         9

                                        10
                                                                                                                        ________
                                        11                                                       UNITED STATES DISCTRICT JUDGE
                                        12
Gordon & Rees Scully Mansukhani, LLP




                                                                                                DATED:
  300 South Fourth Street, Suite 1550




                                        13                                                     DATED this 1st day of December, 2021.
                                        14
        Las Vegas, NV 89101




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